









  OPINION HEADING PER CUR                                           









&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; NO. 12-07-00053-CV

&nbsp;

IN THE COURT OF APPEALS

&nbsp;

TWELFTH COURT OF APPEALS
DISTRICT

&nbsp;

TYLER, TEXAS

&nbsp;

&nbsp;

MICHAEL
KENNEDY,&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; §&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; APPEAL FROM THE 369TH

APPELLANT

&nbsp;

V.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; §&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; JUDICIAL
DISTRICT COURT OF

&nbsp;

HON.
B. JEFFREY DORAN AND

DETECTIVE
LARRY MARS,&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; §&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; ANDERSON COUNTY, TEXAS

APPELLEES




 
  
  
 
 
  
  
 
 
  
 
 
  
  
 


&nbsp;

&nbsp;



MEMORANDUM OPINION

PER
CURIAM

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; This appeal is being dismissed for want of
prosecution.&nbsp; Tex. R. App. P. 42.3(b).&nbsp;
Appellant perfected his appeal on January 31, 2007.&nbsp; Thereafter, the clerk’s record was filed on
March 12, 2007, making Appellant’s brief due on or before April 11, 2007.&nbsp; When Appellant failed to file his brief
within the required time, this court notified him on April 30, 2007 that the
brief was past due and warned that if no motion for extension of time to file
the brief was received by May 10, 2007, the appeal would be dismissed for want
of prosecution under Texas Rule of Appellate Procedure&nbsp; 42.3(b).&nbsp;
The notice further informed Appellant that the motion for extension of
time must contain a reasonable explanation for his failure to file the brief
and a showing that Appellee had not suffered material injury thereby.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; To date, Appellant has neither complied with or otherwise
responded to this court’s April&nbsp;30, 2007 notice.&nbsp; Accordingly, we dismiss the
appeal for want of prosecution.&nbsp;
See Tex. R. App. P.&nbsp; 38.8(a)(1), 42.3.(b).

Opinion
delivered May 23, 2007.

Panel
consisted of Worthen, C.J., Griffith, J., and Hoyle, J.

&nbsp;

&nbsp;

(PUBLISH)





